                          Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 1 of 38


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF TEXAS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Romance Writers of America, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  5315-B Cypress Creek Parkway
                                  #111                                                           2455 E. Sunrise Blvd., Suite 816
                                  Houston, TX 77069                                              Fort Lauderdale, FL 33304
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Harris                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       RWA.org


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
                          Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 2 of 38
Debtor    Romance Writers of America, Inc.                                                             Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                           Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                           Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                           Chapter 7
     debtor filing?
                                           Chapter 9
     A debtor who is a “small
     business debtor” must check           Chapter 11. Check all that apply:
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must
     check the second sub-box.                                   The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against            Yes.
     the debtor within the last 8
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number

10. Are any bankruptcy cases              No
    pending or being filed by a           Yes.
    business partner or an
    affiliate of the debtor?




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                            Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 3 of 38
Debtor    Romance Writers of America, Inc.                                                                Case number (if known)
          Name

     List all cases. If more than 1,
     attach a separate list                          Debtor                                                                    Relationship
                                                     District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                           Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                   Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                   Is the property insured?
                                                       No
                                                       Yes. Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                              1,000-5,000                                25,001-50,000
    creditors                              50-99                                             5001-10,000                                50,001-100,000
                                           100-199                                           10,001-25,000                              More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion

16. Estimated liabilities                  $0 - $50,000                                      $1,000,001 - $10 million                   $500,000,001 - $1 billion
                                           $50,001 - $100,000                                $10,000,001 - $50 million                  $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                               $50,000,001 - $100 million                 $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                             $100,000,001 - $500 million                More than $50 billion




Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 5 of 38
                         Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 6 of 38


Fill in this information to identify the case:
Debtor name Romance Writers of America, Inc.
United States Bankruptcy Court for the: SOUTHERN DISTRICT OF TEXAS                                                                      Check if this is an

Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                 professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                 and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                 contracts)                                        partially secured          of collateral or setoff
Anaheim Marriott     Andy Lakefish                  Event Contract            Unliquidated                                                                    $713,635.65
Attn: Kurt Endo,                                                              Disputed
Senior Sales         andy.lakefish@mar
Executive            riott.com
700 West             (714) 748-2404
Convention Way
Anaheim, CA 92802
Austin Marriot       Linda Velazquez                Event Contract            Contingent                                                                    $1,131,350.00
Downtown                                                                      Unliquidated
Attn: Linda          linda.velazquez@m                                        Disputed
Velazquez            arriott.com
304 E. Cesar Chavez (512) 608-4205
Street
Austin, TX 78701
GoTo Technologies                                   Software License                                                                                                  $27.38
USA Inc.             ar-us@goto.com
PO Box 50264         (866) 956-4634
Los Angeles, CA
90074
Maritz Global Events Nichole Cochran                Cancellation Fees Contingent                                                                                  $6,000.00
- AT&L Inc.                                                           Unliquidated
1375 North Highway commissions@mar                                    Disputed
Drive                itz.com
Fenton, MO 63099     (636) 827-1000
Philadelphia         Steve Rudner                   Event Contract            Contingent                                                                    $1,071,198.00
Marriott Downtown                                                             Unliquidated
Attn: Matt McGeady. Rudner@HotelLaw                                           Disputed
Senior Sales Exec.   yers.com
1201 Market Street   (214) 373-1900
Philadelphia, PA
19107
Robo6K               Peter Hanna                    Software License                                                                                                $619.20
2600 S 1st Street
Austin, TX 78704     peter@robo.net
                     (512) 501-1223




Official form 204                      Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
                             Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 7 of 38

Fill in this information to identify the case:

Debtor name           Romance Writers of America, Inc.

United States Bankruptcy Court for the:                      SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                                                                  Check if this is an
                                                                                                                                                                                      amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

Part 1:     Summary of Assets


1.   Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

     1a. Real property:
         Copy line 88 from Schedule A/B.............................................................................................................................                   $                  0.00

     1b. Total personal property:
         Copy line 91A from Schedule A/B.........................................................................................................................                      $         272,169.89

     1c. Total of all property:
         Copy line 92 from Schedule A/B...........................................................................................................................                     $         272,169.89


Part 2:     Summary of Liabilities


2.   Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
     Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                   $         144,454.37


3.   Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

     3a. Total claim amounts of priority unsecured claims:
         Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                      $                  0.00

     3b. Total amount of claims of nonpriority amount of unsecured claims:
         Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                              +$       2,922,830.23


4.   Total liabilities .......................................................................................................................................................
     Lines 2 + 3a + 3b                                                                                                                                                            $          3,067,284.60




Official Form 206Sum                                             Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
                         Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 8 of 38

Fill in this information to identify the case:

Debtor name          Romance Writers of America, Inc.

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                       amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

      No. Go to Part 2.
      Yes Fill in the information below.
     All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                       debtor's interest

3.         Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                             Last 4 digits of account
                                                                                                            number
                    JPMorgan Chase Bank, N.A. - Platinum
           3.1.     Business Checking                                 Operating                             1731                                  $55,965.62



                    JPMorgan Chase Bank, N.A. - Platinum
           3.2.     Business Checking                                 Operating                             1887                                  $18,519.44


                    JPMorgan Bank, N.A. - Business Select
                    High Yield Savings -Designated                    Savings - Designated
           3.3.     Chapter Funds                                     Chapter Funds                         7295                                  $47,853.55



4.         Other cash equivalents (Identify all)

5.         Total of Part 1.                                                                                                                  $122,338.61
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

Part 2:           Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

      No. Go to Part 3.
      Yes Fill in the information below.

Part 3:           Accounts receivable
10. Does the debtor have any accounts receivable?

Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                                       page 1
                      Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 9 of 38

Debtor       Romance Writers of America, Inc.                                               Case number (If known)
             Name


    No. Go to Part 4.
    Yes Fill in the information below.
11.       Accounts receivable
          11a. 90 days old or less:                             0.00   -                                   0.00 = ....                       $0.00
                                      face amount                             doubtful or uncollectible accounts




12.       Total of Part 3.                                                                                                                $0.00
          Current value on lines 11a + 11b = line 12. Copy the total to line 82.

Part 4:      Investments
13. Does the debtor own any investments?

    No. Go to Part 5.
    Yes Fill in the information below.

Part 5:      Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No. Go to Part 6.
    Yes Fill in the information below.
          General description                Date of the last              Net book value of         Valuation method used   Current value of
                                             physical inventory            debtor's interest         for current value       debtor's interest
                                                                           (Where available)

19.       Raw materials

20.       Work in progress

21.       Finished goods, including goods held for resale
          RWA pins for sale to
          members                                                                      $826.00                                            $826.00



22.       Other inventory or supplies
          Conference pop-up
          booth, Statuettes and
          miscellaneious supplies                                                    $2,090.00                                          $2,090.00




23.       Total of Part 5.                                                                                                           $2,916.00
          Add lines 19 through 22. Copy the total to line 84.

24.       Is any of the property listed in Part 5 perishable?
           No
           Yes
25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
           No
           Yes. Book value                               Valuation method                                Current Value

26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
           No
           Yes


Official Form 206A/B                                Schedule A/B Assets - Real and Personal Property                                         page 2
                      Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 10 of 38

Debtor        Romance Writers of America, Inc.                                         Case number (If known)
              Name

Part 6:       Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No. Go to Part 7.
    Yes Fill in the information below.

Part 7:       Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No. Go to Part 8.
    Yes Fill in the information below.

Part 8:       Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No. Go to Part 9.
    Yes Fill in the information below.

Part 9:       Real property
54. Does the debtor own or lease any real property?

    No. Go to Part 10.
    Yes Fill in the information below.

Part 10:      Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No. Go to Part 11.
    Yes Fill in the information below.
           General description                                        Net book value of         Valuation method used     Current value of
                                                                      debtor's interest         for current value         debtor's interest
                                                                      (Where available)

60.        Patents, copyrights, trademarks, and trade secrets
           Trademarks - See attached                                                 $0.00                                                  $0.00



61.        Internet domain names and websites

62.        Licenses, franchises, and royalties

63.        Customer lists, mailing lists, or other compilations

64.        Other intangibles, or intellectual property

65.        Goodwill

66.        Total of Part 10.                                                                                                            $0.00
           Add lines 60 through 65. Copy the total to line 89.

67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
            No
            Yes
68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
            No
            Yes
Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                                       page 3
                      Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 11 of 38

Debtor        Romance Writers of America, Inc.                                             Case number (If known)
              Name



69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
            No
            Yes
Part 11:      All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

    No. Go to Part 12.
    Yes Fill in the information below.
                                                                                                                    Current value of
                                                                                                                    debtor's interest


71.        Notes receivable
           Description (include name of obligor)

72.        Tax refunds and unused net operating losses (NOLs)
           Description (for example, federal, state, local)

73.        Interests in insurance policies or annuities

74.        Causes of action against third parties (whether or not a lawsuit
           has been filed)

75.        Other contingent and unliquidated claims or causes of action of
           every nature, including counterclaims of the debtor and rights to
           set off claims

76.        Trusts, equitable or future interests in property

77.        Other property of any kind not already listed Examples: Season tickets,
           country club membership
           Interest in Restricted Donor Funds
           Frost Bank - Business Money Market Acct #6220 -
           (Authors Coalition Funds / Trademark Advocacy Funds)                                                              $146,915.28




78.        Total of Part 11.                                                                                              $146,915.28
           Add lines 71 through 77. Copy the total to line 90.

79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
            No
            Yes




Official Form 206A/B                                 Schedule A/B Assets - Real and Personal Property                               page 4
                          Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 12 of 38

Debtor          Romance Writers of America, Inc.                                                                    Case number (If known)
                Name



Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                              Current value of                    Current value of real
                                                                                                    personal property                   property

80. Cash, cash equivalents, and financial assets.
    Copy line 5, Part 1                                                                                          $122,338.61

81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

82. Accounts receivable. Copy line 12, Part 3.                                                                              $0.00

83. Investments. Copy line 17, Part 4.                                                                                      $0.00

84. Inventory. Copy line 23, Part 5.                                                                                 $2,916.00

85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

86. Office furniture, fixtures, and equipment; and collectibles.
    Copy line 43, Part 7.                                                                                                   $0.00

87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

88. Real property. Copy line 56, Part 9.........................................................................................>                               $0.00

89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

90. All other assets. Copy line 78, Part 11.                                                    +                $146,915.28

91. Total. Add lines 80 through 90 for each column                                                            $272,169.89           + 91b.                      $0.00


92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $272,169.89




Official Form 206A/B                                              Schedule A/B Assets - Real and Personal Property                                                      page 5
60. TrademarksCase
              - Attachment
                    24-32447 Document 1 Filed in TXSB on 05/29/24 Page 13 of 38


ROMANCE WRITERS OF AMERICA TRADEMARKS



United States (USPTO)

Status: Registered and renewed
Next Entry: 8/8/2024 [End of Grace Period] File a Section 8 Declaration of
Use/Excusable Nonuse and Section 9 Renewal




Current Owner: ROMANCE WRITERS OF AMERICA, INC.
App. No.: 74386714              App. Date:                 Reg. Date:
Reg. No. 1820215                5/5/1993                   2/8/1994
041    trade association services in connection with the promotion of high quality romance writing




RITA
United States (USPTO)

Status: Registered and renewed
Next Entry: 8/29/2024 [Start of Filing] File a Section 8 Declaration of Use/Excusable
Nonuse and Section 9 Renewal
Current Owner: Romance Writers of America, Inc.
App. No.: 74531186              App. Date:                 Reg. Date:
Reg. No. 1915540                5/31/1994                  8/29/1995
041    rewarding and promoting excellence in the field of quality published romance fiction through an awards program




THE VIVIAN
United States (USPTO)

Status: Registered - Principal Register
                 Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 14 of 38
Next Entry: 5/25/2026 [Start of Filing] File a Section 8 or Section 71 declaration of
use/excusable nonuse
Current Owner: Romance Writers of America, Inc.
App. No.: 88954328              App. Date:                  Reg. Date:
Reg. No. 6365998                6/8/2020                    5/25/2021
041   Educational services, namely, providing incentives to romance writers to demonstrate excellence in the field of
      quality published romance fiction through the issuance of awards



RWA
United States (USPTO)

Status: Registered and renewed
Next Entry: 8/18/2026 [Start of Filing] File a Section 8 Declaration of Use/Excusable
Nonuse and Section 9 Renewal
Current Owner: ROMANCE WRITERS OF AMERICA, INC.
App. No.: 73639046              App. Date:                  Reg. Date:
Reg. No. 1453699                1/9/1987                    8/18/1987
042   TRADE ASSOCIATION SERVICES IN CONNECTION WITH THE PROMOTION OF HIGH QUALITY ROMANCE WRITING




GOLDEN HEART
United States (USPTO)

Status: Registered and renewed
Next Entry: 1/11/2029 [Start of Filing] File a Section 8 Declaration of Use/Excusable
Nonuse and Section 9 Renewal
Current Owner: Romance Writers of America, Inc.
App. No.: 75594679              App. Date:                  Reg. Date:
Reg. No. 2307485                12/1/1998                   1/11/2000
041   Providing incentives to people to demonstrate excellence in the field of romance writing through the issuance of
      awards




United States (USPTO)

Status: Registered and renewed
Next Entry: 1/11/2029 [Start of Filing] File a Section 8 Declaration of Use/Excusable
Nonuse and Section 9 Renewal
                Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 15 of 38
Current Owner: Romance Writers of America, Inc.
App. No.: 75594680            App. Date:                 Reg. Date:
Reg. No. 2307486              12/1/1998                  1/11/2000
041   Providing incentives to people to demonstrate excellence in the field of romance writing through the issuance of
      awards
                          Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 16 of 38

Fill in this information to identify the case:

Debtor name          Romance Writers of America, Inc.

United States Bankruptcy Court for the:            SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                       Check if this is an
                                                                                                                                           amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                   12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
       No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
Part 1:      List Creditors Who Have Secured Claims
                                                                                                                 Column A                    Column B
2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
claim, list the creditor separately for each claim.                                                              Amount of claim             Value of collateral
                                                                                                                                             that supports this
                                                                                                                 Do not deduct the value     claim
                                                                                                                 of collateral.
       U.S. Small Business
2.1                                                                                                                      $144,454.37                        $0.00
       Administration                               Describe debtor's property that is subject to a lien
       Creditor's Name

       10737 Gateway West #300
       El Paso, TX 79935
       Creditor's mailing address                   Describe the lien
                                                    UCC
                                                    Is the creditor an insider or related party?
                                                     No
       Creditor's email address, if known            Yes
                                                    Is anyone else liable on this claim?
       Date debt was incurred                        No
       7/3/2020                                      Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
        Yes. Specify each creditor,                 Unliquidated
       including this creditor and its relative      Disputed
       priority.



3.    Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.         $144,454.37

Part 2:     List Others to Be Notified for a Debt Already Listed in Part 1
List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
assignees of claims listed above, and attorneys for secured creditors.

If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
        Name and address                                                                                     On which line in Part 1 did        Last 4 digits of
                                                                                                             you enter the related creditor?    account number for
                                                                                                                                                this entity




Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                               page 1 of 1
                        Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 17 of 38

Fill in this information to identify the case:

Debtor name        Romance Writers of America, Inc.

United States Bankruptcy Court for the:         SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                                 amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                 12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

Part 1:      List All Creditors with PRIORITY Unsecured Claims

      1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

          No. Go to Part 2.
          Yes. Go to line 2.
      2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
         with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                   Total claim           Priority amount

2.1       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Internal Revenue Service                             Check all that apply.
          PO Box 7346                                           Contingent
          Philadelphia, PA 19101                                Unliquidated
                                                                Disputed
          Date or dates debt was incurred                      Basis for the claim:
                                                               FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes

2.2       Priority creditor's name and mailing address         As of the petition filing date, the claim is:                                     $0.00      $0.00
          Texas Comptroller of Public                          Check all that apply.
          Accounts                                              Contingent
          Lyndon B. Johnson State Office                        Unliquidated
          Building                                              Disputed
          111 East 17th Street
          Austin, TX 78774
          Date or dates debt was incurred                      Basis for the claim:
                                                               FOR NOTICE PURPOSES ONLY
          Last 4 digits of account number                      Is the claim subject to offset?
          Specify Code subsection of PRIORITY                   No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                Yes


Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
      3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
         out and attach the Additional Page of Part 2.
                                                                                                                                                     Amount of claim




Official Form 206E/F                                      Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 3
                                                                                                               53680
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Debtor      Romance Writers of America, Inc.                                                Case number (if known)
            Name

3.1      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Advanced Solutions International, Inc.                     Contingent
         9600 Great Hills
         Austin, TX 78759
                                                                    Unliquidated
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Software License
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.2      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.    $713,635.65
         Anaheim Marriott                                           Contingent
         Attn: Kurt Endo, Senior Sales Executive                    Unliquidated
         700 West Convention Way
         Anaheim, CA 92802                                          Disputed
         Date(s) debt was incurred                                 Basis for the claim: Event Contract

         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.3      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         ASI                                                        Contingent
         4030 West Braker Lane
         Suite 175
                                                                    Unliquidated
         Austin, TX 78759                                           Disputed
         Date(s) debt was incurred                                 Basis for the claim: Website/Database

         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.4      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Association Technologies, Inc.                             Contingent
         480 E. Roosevelt West
         West Chicago, IL 60185
                                                                    Unliquidated
                                                                    Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Tech Support
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes
3.5      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.   $1,131,350.00
         Austin Marriot Downtown                                    Contingent
         Attn: Linda Velazquez
         304 E. Cesar Chavez Street
                                                                    Unliquidated
         Austin, TX 78701                                           Disputed
         Date(s) debt was incurred                                 Basis for the claim: Event Contract
         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.6      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.           $0.00
         Author's Coalition of America                              Contingent
         Attn: Dorien Kelly Davis
         PO Box 929
                                                                    Unliquidated
         Pentwater, MI 49449                                        Disputed
         Date(s) debt was incurred                                 Basis for the claim: Contract

         Last 4 digits of account number                           Is the claim subject to offset?    No  Yes
3.7      Nonpriority creditor's name and mailing address           As of the petition filing date, the claim is: Check all that apply.         $27.38
         GoTo Technologies USA Inc.                                 Contingent
         PO Box 50264                                               Unliquidated
         Los Angeles, CA 90074                                      Disputed
         Date(s) debt was incurred
                                                                   Basis for the claim: Software License
         Last 4 digits of account number
                                                                   Is the claim subject to offset?    No  Yes



Official Form 206 E/F                               Schedule E/F: Creditors Who Have Unsecured Claims                                         Page 2 of 3
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Debtor       Romance Writers of America, Inc.                                                       Case number (if known)
             Name

3.8       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                       $0.00
          Higher Logic                                                      Contingent
          1919 N. Lynn Street
          Suite 500
                                                                            Unliquidated
          Arlington, VA 22209                                               Disputed
          Date(s) debt was incurred                                        Basis for the claim: Forums Platform

          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.9       Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                $6,000.00
          Maritz Global Events - AT&L Inc.                                  Contingent
          1375 North Highway Drive
          Fenton, MO 63099
                                                                            Unliquidated
          Date(s) debt was incurred
                                                                            Disputed
          Last 4 digits of account number                                  Basis for the claim: Cancellation Fees

                                                                           Is the claim subject to offset?    No  Yes
3.10      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.            $1,071,198.00
          Philadelphia Marriott Downtown                                    Contingent
          Attn: Matt McGeady. Senior Sales Exec.
          1201 Market Street
                                                                            Unliquidated
          Philadelphia, PA 19107                                            Disputed
          Date(s) debt was incurred                                        Basis for the claim: Event Contract
          Last 4 digits of account number                                  Is the claim subject to offset?    No  Yes
3.11      Nonpriority creditor's name and mailing address                  As of the petition filing date, the claim is: Check all that apply.                  $619.20
          Robo6K                                                            Contingent
          2600 S 1st Street                                                 Unliquidated
          Austin, TX 78704                                                  Disputed
          Date(s) debt was incurred
                                                                           Basis for the claim: Software License
          Last 4 digits of account number
                                                                           Is the claim subject to offset?    No  Yes

Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

  If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

          Name and mailing address                                                                  On which line in Part1 or Part 2 is the         Last 4 digits of
                                                                                                    related creditor (if any) listed?               account number, if
                                                                                                                                                    any

Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                      Total of claim amounts
5a. Total claims from Part 1                                                                           5a.        $                            0.00
5b. Total claims from Part 2                                                                           5b.    +   $                    2,922,830.23

5c. Total of Parts 1 and 2
    Lines 5a + 5b = 5c.                                                                                5c.        $                        2,922,830.23




Official Form 206 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                      Page 3 of 3
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Fill in this information to identify the case:

Debtor name        Romance Writers of America, Inc.

United States Bankruptcy Court for the:      SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                               Check if this is an
                                                                                                                                  amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
       Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal            Property
(Official Form 206A/B).

2. List all contracts and unexpired leases                                     State the name and mailing address for all other parties with
                                                                               whom the debtor has an executory contract or unexpired
                                                                               lease

2.1.         State what the contract or           Event Contract
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            Anaheim Marriott
                                                                                    Attn: Kurt Endo, Senior Sales Executive
             List the contract number of any                                        700 West Convention Way
                   government contract                                              Anaheim, CA 92802


2.2.         State what the contract or           Website/Database
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            ASI
                                                                                    4030 West Braker Lane
             List the contract number of any                                        Suite 175
                   government contract                                              Austin, TX 78759


2.3.         State what the contract or           Contract
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            Author's Coalition of America
                                                                                    Attn: Dorien Kelly Davis
             List the contract number of any                                        PO Box 929
                   government contract                                              Pentwater, MI 49449


2.4.         State what the contract or           Forums Platform
             lease is for and the nature of
             the debtor's interest

                State the term remaining                                            Higher Logic
                                                                                    1919 N. Lynn Street
             List the contract number of any                                        Suite 500
                   government contract                                              Arlington, VA 22209




Official Form 206G                         Schedule G: Executory Contracts and Unexpired Leases                                                Page 1 of 2
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Debtor 1 Romance Writers of America, Inc.                                        Case number (if known)
          First Name         Middle Name          Last Name



         Additional Page if You Have More Contracts or Leases

2. List all contracts and unexpired leases                           State the name and mailing address for all other parties with
                                                                     whom the debtor has an executory contract or unexpired
                                                                     lease

2.5.      State what the contract or        Event Contract
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    JW Marriott Austin
                                                                         Attn: Linda Velazquez
          List the contract number of any                                304 E. Cesar Chavez Street
                government contract                                      Austin, TX 78701


2.6.      State what the contract or        Master Services
          lease is for and the nature of    Agreement
          the debtor's interest

             State the term remaining                                    Maritz Global Events - AT&L Inc.
                                                                         f/k/a Experient Inc.
          List the contract number of any                                1375 North Highway Drive
                government contract                                      Fenton, MO 63099


2.7.      State what the contract or        Virtual Event Platform
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Pathable
          List the contract number of any                                4065 4th Ave NE
                government contract                                      Seattle, WA 98105


2.8.      State what the contract or        Event Contract
          lease is for and the nature of
          the debtor's interest

             State the term remaining                                    Philadelphia Marriott Downtown
                                                                         Attn: Matt McGeady. Senior Sales Exec.
          List the contract number of any                                1201 Market Street
                government contract                                      Philadelphia, PA 19107


2.9.      State what the contract or
          lease is for and the nature of
          the debtor's interest

             State the term remaining
                                                                         Various Contracts with Chapters
          List the contract number of any                                [addresses on file]
                government contract




Official Form 206G                    Schedule G: Executory Contracts and Unexpired Leases                                 Page 2 of 2
                    Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 22 of 38

Fill in this information to identify the case:

Debtor name      Romance Writers of America, Inc.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                              amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

    1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
 Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
     creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
     on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                        Column 2: Creditor



          Name                        Mailing Address                                          Name                            Check all schedules
                                                                                                                               that apply:
   2.1                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.2                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.3                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code


   2.4                                                                                                                        D
                                      Street                                                                                   E/F
                                                                                                                              G
                                      City                   State         Zip Code




Official Form 206H                                                    Schedule H: Your Codebtors                                            Page 1 of 1
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Fill in this information to identify the case:

Debtor name         Romance Writers of America, Inc.

United States Bankruptcy Court for the:   SOUTHERN DISTRICT OF TEXAS

Case number (if known)
                                                                                                                            Check if this is an
                                                                                                                            amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                          04/22
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

Part 1:     Income

1. Gross revenue from business

          None.

      Identify the beginning and ending dates of the debtor’s fiscal year,           Sources of revenue                     Gross revenue
      which may be a calendar year                                                   Check all that apply                   (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:                              Operating a business                          $209,426.00
      From 9/01/2023 to Filing Date
                                                                                         Other


      For prior year:                                                                    Operating a business                          $470,981.00
      From 9/01/2022 to 8/31/2023
                                                                                         Other


      For year before that:                                                              Operating a business                          $593,800.00
      From 9/01/2021 to 8/31/2022
                                                                                         Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

          None.

                                                                                     Description of sources of revenue      Gross revenue from
                                                                                                                            each source
                                                                                                                            (before deductions and
                                                                                                                            exclusions)

      From the beginning of the fiscal year to filing date:
      From 9/01/2023 to Filing Date                                                  Donations                                            $3,584.00


      For prior year:
      From 9/01/2022 to 8/31/2023                                                    Donations                                           $24,370.00


      For year before that:
      From 9/01/2021 to 8/31/2022                                                    Donations                                           $61,891.00


Part 2:     List Certain Transfers Made Before Filing for Bankruptcy



Official Form 207                         Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                page 1
                     Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 24 of 38
Debtor       Romance Writers of America, Inc.                                                  Case number (if known)




3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $7,575. (This amount may be adjusted on 4/01/25
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

         None.

      Creditor's Name and Address                                 Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                      Check all that apply
      3.1.
              Raines Feldman Littrell LLP                         4/15/2024                        $25,000.00            Secured debt
              1900 Avenue of the Stars, 19th Floor                                                                       Unsecured loan repayments
              Los Angeles, CA 90067                                                                                      Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other Retainer

      3.2.
              SC Ventures                                         4/24/2024                        $20,000.00            Secured debt
              35 Hudson Street, Suite 2603                                                                               Unsecured loan repayments
              Jersey City, NJ 07302                                                                                      Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other Retainer Financial
                                                                                                                      Advisory Services

      3.3.
              Association Technologies, Inc.                      3/4/2024 -                       $23,008.50            Secured debt
              480 E. Roosevelt Road                               $2,675.00                                              Unsecured loan repayments
              Suite 101                                           4/16/2024 -                                            Suppliers or vendors
              West Chicago, IL 60185                              $8,030.00                                              Services
                                                                  4/18/2024 -                                            Other Techical Advisory
                                                                  $4,579.13                                           Services
                                                                  5/2/2024 -
                                                                  $2,682.50
                                                                  5/21/2024 -
                                                                  $5,041.87
      3.4.
              AMC Source, Inc.                                    3/4/2024 -                       $34,334.05            Secured debt
              2455 East Sunrise Blvd.,                            $1,847.06;                                             Unsecured loan repayments
              Suite 816                                           4/3/2024 -                                             Suppliers or vendors
              Fort Lauderdale, FL 33304                           $30,000.00;                                            Services
                                                                  4/29/2024 -                                            Other Management Services
                                                                  $2,169.80;
                                                                  5/7/2024 -
                                                                  $170.53
                                                                  5/22/2024 -
                                                                  $146.66
      3.5.
              Andrew Myers, PC                                    5/21/2024                        $15,000.00            Secured debt
              1885 Saint James Street                                                                                    Unsecured loan repayments
              15th Floor                                                                                                 Suppliers or vendors
              Houston, TX 77056-4110                                                                                     Services
                                                                                                                         Other Retainer

      3.6.
              Blazek & Vetterling LLC                             5/22/2024                        $16,750.00            Secured debt
              2900 Weslayan St. #200                                                                                     Unsecured loan repayments
              Houston, TX 77027-5180                                                                                     Suppliers or vendors
                                                                                                                         Services
                                                                                                                         Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $7,575. (This amount
   may be adjusted on 4/01/25 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
Official Form 207                          Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                  page 2
                      Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 25 of 38
Debtor      Romance Writers of America, Inc.                                                       Case number (if known)



    listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
    debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

      Insider's name and address                                    Dates                  Total amount of value          Reasons for payment or transfer
      Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

      Creditor's name and address                       Describe of the Property                                        Date                 Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

          None

      Creditor's name and address                       Description of the action creditor took                         Date action was                Amount
                                                                                                                        taken

Part 3:     Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

          None.

             Case title                                 Nature of case               Court or agency's name and                Status of case
             Case number                                                             address

8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

          None


Part 4:     Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

          None

             Recipient's name and address               Description of the gifts or contributions                  Dates given                            Value


Part 5:     Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

          None

      Description of the property lost and              Amount of payments received for the loss                   Dates of loss             Value of property
      how the loss occurred                                                                                                                               lost
                                                        If you have received payments to cover the loss, for
                                                        example, from insurance, government compensation, or
                                                        tort liability, list the total received.

                                                        List unpaid claims on Official Form 106A/B (Schedule
                                                        A/B: Assets – Real and Personal Property).

Part 6:     Certain Payments or Transfers

Official Form 207                            Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 3
                      Case 24-32447 Document 1 Filed in TXSB on 05/29/24 Page 26 of 38
Debtor        Romance Writers of America, Inc.                                                  Case number (if known)




11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received             If not money, describe any property transferred               Dates                Total amount or
                the transfer?                                                                                                                        value
                Address
      11.1.     Andrews Myers PC
                1885 Saint James Place
                15th Floor
                Houston, TX 77056                                                                                      5/21/2024                $15,000.00

                Email or website address


                Who made the payment, if not debtor?




      11.2.     Raines Feldman Littrell LLP                                                                            8/9/2023 -
                1350 Avenue of the Americas                                                                            $15,000.00
                22nd Floor                                                                                             4/15/2024 -
                New York, NY 10019                                                                                     25,000.00                $40,000.00

                Email or website address


                Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

      Name of trust or device                            Describe any property transferred                    Dates transfers               Total amount or
                                                                                                              were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

               Who received transfer?                  Description of property transferred or                    Date transfer              Total amount or
               Address                                 payments received or debts paid in exchange               was made                            value

 Part 7:      Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                Address                                                                                            Dates of occupancy
                                                                                                                   From-To

Part 8:       Health Care Bankruptcies

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Debtor        Romance Writers of America, Inc.                                                   Case number (if known)




15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

           No. Go to Part 9.
           Yes. Fill in the information below.


                Facility name and address              Nature of the business operation, including type of services             If debtor provides meals
                                                       the debtor provides                                                      and housing, number of
                                                                                                                                patients in debtor’s care

Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

           No.
           Yes. State the nature of the information collected and retained.

                 Name, Address, E-mail, Telephone Number
                 Does the debtor have a privacy policy about that information?
                   No
                   Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

           No. Go to Part 10.
           Yes. Does the debtor serve as plan administrator?

                      No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                        Employer identification number of the plan
                    Schwab - Simple IRA                                                                 EIN: 7649-1953

                    Has the plan been terminated?
                      No
                      Yes


Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and           Last 4 digits of            Type of account or          Date account was              Last balance
              Address                                  account number              instrument                  closed, sold,             before closing or
                                                                                                               moved, or                          transfer
                                                                                                               transferred
      18.1.     Amegy - Business Money                 XXXX-4680                      Checking                 8/30/2023 -                   $138,392.80
                Market                                                                Savings                  Transferred to
                Designated Authors                                                    Money Market             Frost Account
                Coalition Funds                                                       Brokerage
                                                                                      Other

      18.2.     Wells Fargo - Business                 XXXX-8748                      Checking                 5/15/2024 -                    $87,497.99
                Money Market                                                          Savings                  Account closed -
                Designated Trademark                                                  Money Market             funds transferred
                Funds                                                                 Brokerage                to Frost Account
                                                                                      Other

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19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


         None

      Depository institution name and address                Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
                                                             Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


         None

      Facility name and address                              Names of anyone with                  Description of the contents                 Does debtor
                                                             access to it                                                                      still have it?
      U-Haul Moving & Storage                                N/A                                   Storage closed 3-1-2024.                       No
      7022 Cypress Creek Parkway                                                                   Items now with AMC Source                      Yes
      Houston, TX 77069                                                                            (Management Company) - see
                                                                                                   below.

      AMC Source                                             Samuel Pierrot                        Office supplies, documents                     No
      2455 E. Sunrise Blvd.                                                                        (taxes, vendor invoices, other                 Yes
      Suite 816                                                                                    required record retention),
      Fort Lauderdale, FL 33304                                                                    magazine archives,
                                                                                                   conference cassettes and
                                                                                                   other recordings, conference
                                                                                                   banners and pop-up event
                                                                                                   supplies, member pins.



Part 11:    Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


Part 12:    Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

     Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
     owned, operated, or utilized.

     Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
     similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

           No.
           Yes. Provide details below.

      Case title                                             Court or agency name and              Nature of the case                          Status of case
      Case number                                            address


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23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

24. Has the debtor notified any governmental unit of any release of hazardous material?

           No.
           Yes. Provide details below.

      Site name and address                                 Governmental unit name and                Environmental law, if known               Date of notice
                                                            address

Part 13:    Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

         None

   Business name address                             Describe the nature of the business               Employer Identification number
                                                                                                       Do not include Social Security number or ITIN.

                                                                                                       Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26a.1.        Blazek & Vetterling                                                                                                Current
                    Attn: Barbara Murphy
                    2900 Weslayan, Suite 200
                    Houston, TX 77027
      26a.2.        AMC Source                                                                                                         Current
                    Attn: Samuel Pierrot
                    2455 E. Sunrise Blvd., Suite 816
                    Fort Lauderdale, FL 33304

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

               None

      Name and address                                                                                                                 Date of service
                                                                                                                                       From-To
      26b.1.        Blazek & Vetterling                                                                                                Current
                    Attn: Barbara Murphy
                    2900 Weslayan, Suite 200
                    Houston, TX 77027

    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

               None

      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why




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Debtor      Romance Writers of America, Inc.                                                    Case number (if known)



      Name and address                                                                               If any books of account and records are
                                                                                                     unavailable, explain why
      26c.1.        AMC Source
                    Attn: Samuel Pierrot
                    2455 E. Sunrise Blvd., Suite 816
                    Fort Lauderdale, FL 33304

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

               None

      Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

           No
           Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                  Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                     or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      AMC Source                              2455 E. Sunrise Blvd., Suite 816                    Management Company
                                              Fort Lauderdale, FL 33304

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Mary Ann Jock                           5315-B Cypress Creek Parkway, #111                  President and Executive
                                              Houston, TX 77069                                   Committee Board of Directors

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Brooke Wills                            5315-B Cypress Creek Parkway, #111                  Treasurer and Executive
                                              Houston, TX 77069                                   Committee Board of Directors

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Jacki Miller                            5315-B Cypress Creek Parkway, #111                  Secretary and Executive
                                              Houston, TX 77069                                   Committee Board of Directors

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Marian H. Griffin                       5315-B Cypress Creek Parkway #111                   Director-at-Large
                                              Houston, TX 77069

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Mary Karlik                             5315-B Cypress Creek Parkway #111                   Director-at-Large
                                              Houston, TX 77069

      Name                                    Address                                             Position and nature of any                % of interest, if
                                                                                                  interest                                  any
      Anita Learned                           5315-B Cypress Creek Parkway #111                   Director-at-Large
                                              Houston, TX 77069




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Debtor      Romance Writers of America, Inc.                                                   Case number (if known)



      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Ursula Renee                           5315-B Cypress Creek Parkway, #111                  Director-at-Large
                                             Houston, TX 77069

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Alexis-Morgan Roark                    5315-B Cypress Creek Parkway, #111                  Director-at-Large
                                             Houston, TX 77069

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Laina Turner                           5315-B Cypress Creek Parkway, #111                  Director-at-Large
                                             Houston, TX 77069

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Antonia Cyn                            5315-B Cypress Creek Parkway, #111                  Nonvoting Director - Chapter
                                             Houston, TX 77069                                   Advisor

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Danica Winters                         5315-B Cypress Creek Parkway, #111                  Nonvoting Director - PAN
                                             Houston, TX 77069                                   Advisor

      Name                                   Address                                             Position and nature of any              % of interest, if
                                                                                                 interest                                any
      Robin Hillyer-Miles                    5315-B Cypress Creek Parkway, #111                  Non-Voting Director - PRO
                                             Houston, TX 77069                                   Advisor



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


           No
           Yes. Identify below.

      Name                                   Address                                             Position and nature of any         Period during which
                                                                                                 interest                           position or interest
                                                                                                                                    was held
      Leslie Scantlebury                     5315-B Cypress Creek Parkway, #111                  Executive Director                 Resigned
                                             Houston, TX 77069                                                                      September, 2023


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

           No
           Yes. Identify below.

             Name and address of recipient            Amount of money or description and value of               Dates               Reason for
                                                      property                                                                      providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

           No
           Yes. Identify below.

   Name of the parent corporation                                                                     Employer Identification number of the parent
                                                                                                      corporation




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    Advanced Solutions International, Inc.
    9600 Great Hills
    Austin, TX 78759




    Anaheim Marriott
    Attn: Kurt Endo, Senior Sales Executive
    700 West Convention Way
    Anaheim, CA 92802



    ASI
    4030 West Braker Lane
    Suite 175
    Austin, TX 78759



    Association Technologies, Inc.
    480 E. Roosevelt West
    West Chicago, IL 60185




    Austin Marriot Downtown
    Attn: Linda Velazquez
    304 E. Cesar Chavez Street
    Austin, TX 78701



    Author's Coalition of America
    Attn: Dorien Kelly Davis
    PO Box 929
    Pentwater, MI 49449



    GoTo Technologies USA Inc.
    PO Box 50264
    Los Angeles, CA 90074




    Higher Logic
    1919 N. Lynn Street
    Suite 500
    Arlington, VA 22209
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Internal Revenue Service
PO Box 7346
Philadelphia, PA 19101




JW Marriott Austin
Attn: Linda Velazquez
304 E. Cesar Chavez Street
Austin, TX 78701



Maritz Global Events - AT&L Inc.
1375 North Highway Drive
Fenton, MO 63099




Maritz Global Events - AT&L Inc.
f/k/a Experient Inc.
1375 North Highway Drive
Fenton, MO 63099



Pathable
4065 4th Ave NE
Seattle, WA 98105




Philadelphia Marriott Downtown
Attn: Matt McGeady. Senior Sales Exec.
1201 Market Street
Philadelphia, PA 19107



Robo6K
2600 S 1st Street
Austin, TX 78704




Texas Comptroller of Public Accounts
Lyndon B. Johnson State Office Building
111 East 17th Street
Austin, TX 78774
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U.S. Small Business Administration
10737 Gateway West #300
El Paso, TX 79935




Various Contracts with Chapters
[addresses on file]
